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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SAGI GENGER, Civ. No.: 14-5683 (KBF)
Plaintiff,
- against -
ORLY GENGER,

Defendant.

 

 

DEFENDANT ORLY GENGER’S MEMORANDUM OF LAW
IN SUPPORT OF HER MOTION TO DISMISS THE COMPLAINT
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(1)
AND 12(H)(3) FOR LACK OF SUBJECT MATTER JURISDICTION, AND
FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) FOR FAILURE TO
STATE A CLAIM UPON WHICH RELIEF MAY BE GRANTED

ZEICHNER ELLMAN & KRAUSE LLP
1211 Avenue of the Americas
New York, New York 10036

Telephone: (212) 223-0400
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PRELIMINARY STATEMENT

On July 22, 2014, the Court dismissed plaintiff Sagi Genger’s (“Sagi) original
complaint, without prejudice, for lack of subject-matter jurisdiction. See 7/22/14 Order.! On
July 24, 2014, Sagi re-filed the same complaint again (with minor changes and an additional
claim for “promissory estoppels” tacked on). Neither the new filing date, nor the new claim for
promissory estoppel, saves Sagi’s complaint from dismissal; it remains fatally and irreparably

flawed for several independent reasons.

First, because there is no federal question or diversity here, the Court continues to
lack subject-matter jurisdiction over the dispute. In its 7/22/14 Order, the Court held all the
purported facts proffered by Sagi failed to prove, by “clear and convincing evidence,” that Sagi
was no longer domiciled in New York on February 18, 2014. 7/22/14 Order at 9-11. This
holding remains res judicata as to all prior facts proffered by Sagi, and Sagi does not allege any
new material facts, much less new material facts sufficient to clearly and convincingly prove
Sagi was no longer domiciled in New York as of July 24, 2014. If Sagi wishes to sue his sister,

Orly Genger (“Orly”), it must be in the New York State Courts. See Argument, Point I.

Second, Sagi’s claim for breach of a letter dated November 10, 2004 (the
“November Document”) fails for want of consideration. In a vain attempt to create consideration
where none exists, Sagi contends Orly’s purported November 10, 2004 agreement to indemnify
Sagi for 50% of any amount he pays their mother, Dalia Genger (“Dalia”), pursuant to his

October 30, 2004 written promise to Dalia (the “Sagi Promise Document”) is supported by two

 

The Court’s 7/22/14 Order is attached as Exhibit 1 to the Declaration of Bryan D. Leinbach (“Leinbach Decl.”)
filed contemporaneously herewith.
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kinds of consideration: (i) the Orly Trust’s (and Sagi Trust’s) receipt of certain shares in Trans-
Resources, Inc. (the “TRI Shares”) as part of the Divorce Stipulation (defined below), and (ii)
love, affection, and the end to parental strife. Compl. §/ 8. Neither suffices as consideration. The
TRI Shares cannot provide consideration because the the Divorce Stipulation, which fully set out
the transfer of the TRI Shares to the Orly and Sagi Genger 1993 Trusts, was signed and became
binding on Dalia “IN ALL CIRCUMSTANCES” “as of October 26, 2004,” before the Sagi
Promise Document or the November Document. Further, Sagi has spent years successfully
contending the TRI Shares were never actually validly transferred to the Trusts. Accordingly,
Sagi is judicially estopped from claiming they were transferred now, for purposes of establishing
consideration. As to love and affection, it is settled that love and affection (especially between a
child and a parent) does not constitute consideration as a matter of New York law. See

Argument Point II(A).

Third, under well-settled law, Sagi is barred from seeking indemnification
because he failed to provide Orly with notice and an opportunity to defend before paying Dalia.

See Argument, Point II(B).

Fourth, a claim for promissory estoppel requires an “unconscionable injury to the
relying party as a result of the reliance,” Consolidated Energy Design Inc. v. The Princeton Club
of New York, 13 Civ. 8747 (KBF), 2014 U.S. Dist. LEXIS 38560, *9 (S.D.N.Y. March 24,
2014). For over six years, Sagi and Dalia have worked together in a vicious campaign to destroy
Orly financially, taking everything they could from Orly in a series of frauds, including every

2

asset Orly was given as part of their parents’ divorce.“ Under these circumstances, Sagi could

 

7A sampling of some (but not all) of the various frauds and efforts to harm Orly concocted by Sagi and Dalia are set
forth in Orly’s original May 2, 2014 Motion to Dismiss at pp. 1, n.1 and 4-12, with supporting exhibits, and are
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not possibly have reasonably relied on Orly’s supposed 2004 promise when he paid Dalia in
2014. Nor can Sagi’s supposed injury be properly labeled as an “unconscionable” injury. As a

result, Sagi’s promissory estoppel claim fails as a matter of law. See Argument, Point I((C).

STATEMENT OF FACTS AND ALLEGATIONS?

THE 12(B)(1) AND 12(6)(3) MOTION

The facts supporting Orly’s motion to dismiss for lack of subject matter
jurisdiction under Federal Rule of Civil Procedure 12(b)(1) and 12(h)(3) are set forth in the

Court’s 7/22/14 Order (Leinbach Decl., Ex. 1) and incorporated herein by reference.

THE 12(B)(6) MOTION

Orly Genger

Defendant Orly, Sagi’s younger sister, is an accomplished artist and sculptor.
(See www.orlygenger.com, for examples of Orly’s works and exhibitions.) In 2004, Orly had
little schooling or experience in business or finance. Rather, Orly reposed her trust, confidence

and reliance in her older brother, Sagi, who often provided business advice to her.

 

incorporated herein by reference. [See Civ. No. 14-1006 (KBF), Docket No. 10.] For the Court’s convenience, a
copy of pages 1-12 of Orly’s Memorandum of Law is attached as Leinbach Decl., Exhibit 3.

3 Orly takes issue with many of the allegations in Sagi’s complaint, and those that are contradicted by documents
attached or integral to Sagi’s complaint need not be credited by the Court. See International Audiotext Network,
Inc. v. AT&T Co., 62 F.3d 69, 72 (2d Cir. 1995) (complaint “include[s] any written instrument attached to it as an
exhibit or any statements or documents incorporated in it by reference” or any document “integral to the
complaint”); Rapoport v. Asia Elecs. Holding Co., Inc., 88 F.Supp.2d 179, 184 (S.D.N.Y. 2000) (“[i]f these
documents contradict the allegations of the...complaint, the documents control and this Court need not accept as
true the allegations in” the complaint).
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Sagi Genger

Plaintiff Sagi has an MBA from the Wharton School of Business and is an
experienced businessman. He is currently the CEO of TPR Investment Associates, Inc. (“TPR”),

a closely held Genger family company founded by Orly and Sagi’s father, Arie Genger (“Arie”).*

Dalia Genger

Dalia is Orly and Sagi’s mother. Arie and Dalia were married in Israel on July
23, 1967, and remained so until they divorced in New York in October 2004. See Complaint { 8

[Docket No. 1] (courtesy copy attached as Leinbach Decl., Exhibit 2).

Dalia is also Trustee of the Orly Genger 1993 Trust (the “Orly Trust”), having
been appointed to that position over Orly’s objection by former trustee Leah Fang, Sagi’s sister-

in-law.’ Dalia has misused her position as Trustee to assist Sagi in the looting of all of the Orly

 

4 Sagi finds himself effectively limited to private companies because of an action the Securities and Exchange
Commission brought against him. Specifically, Sagi served as the Chief Financial Officer, and then Chief Operating
Officer, of Lumenis, Ltd., a publicly traded company, from November 1999 to July 2003. On or about April 26,
2006, the Securities and Exchange Commission commenced an action against Sagi, asserting among other things,
that Sagi had Lumenis report millions of dollars in false revenue and profits on Lumenis’ financial statements and
press releases. Also in April 2006, Sagi entered into a Consent Judgment permanently enjoining him and his agents
from making materially false statements or omitting material facts in connection the sale of any securities, and
barring him from serving as an officer or director of a publicly traded company for five years. See SEC Consent
Judgment (Leinbach Decl., Exhibit 4).

5 Orly has been seeking to remove Dalia since her appointment as Trustee. See, e.g., Third Amended Petition, dated
September 20, 2011 (Leinbach Decl., Exhibit 5). To convince the Court to let her remain as Trustee, Dalia
submitted and maintained a false affidavit saying she was treating her children equally, as proved by the fact that, “I
have been effectively redeeming my shares” in Genger family company TPR to TPR. See March 11, 2008 Affidavit
of Dalia Genger, 9 4, 10. In fact, in August 2008, Dalia actually assigned all her shares to Sagi, which benefited
only Sagi. Dalia never shared this fact with Orly, or with the Surrogate Court who was then deciding her fitness to
be Trustee to the Orly Trust based on Dalia’s false sworn representations to it of share redemption and equal
treatment of her children. Remarkably, Dalia maintained this material lie in sworn interrogatory responses to Orly,
dated March 29, 2012, apparently hoping Orly would never discover her key misrepresentation to the Surrogate
Court. See Leinbach Decl., Exhibit 6 (attaching 3/11/08 Affidavit of Dalia Genger; 8/8/08 Assignment and
Assumption Agreement; and Dalia Genger Interrogatory Response No. 30, sworn to on 3/29/12).

In her 3/11/08 affidavit, Dalia also asserted ({ 9) that she was uniquely positioned to protect the Orly Trust by
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Trust assets. Recently, the trial court, as unanimously affirmed by the New York Supreme
Court, Appellate Division voided Dalia and Sagi’s secret efforts to saddle the Trust with at least
$4.4 million in debt (while putting $3.6 million of that money in TPR’s pocket), with the debt
ostensibly payable to a Sagi friend’s recently formed shadowy St. Kitts entity, whose address is a
P.O. Box located on a golf course outside the jurisdiction of the New York courts. See generally

Genger v. Genger, 115 A.D.3d 421, 422 (1st Dept. 2014).

The October 26, 2004 Divorce Stipulation

“In October 2004, Dalia and Arie finalized a stipulation formalizing the terms of
their divorce” (the “Divorce Stipulation”). Compl. § 8. (For the Court’s convenience, the
Divorce Stipulation (without exhibits) is attached as Leinbach Decl., Exhibit 7.) As a Whereas
Clause of the Divorce Stipulation (p. 1) — an “integral part of this Agreement” (p. 2) — states: the
Divorce Stipulation was made because “the Wife has commenced the above-captioned action
against the Husband seeking a divorce (the “Divorce Action”) and the parties desire to resolve

and settle all issues in that action...” (emphasis added).

This court-ordered Divorce Stipulation — made “as of October 26, 2004” (pp. 1,
56) — distributed the assets of Dalia and Arie. See Divorce Stipulation, Article I] (Distribution of
Assets). In this regard, the Divorce Stipulation expressly provides for TPR’s 52.85% ownership

interest in Trans-Resources, Inc. (“TRI”) to be transferred (19.43% each) to the Orly and Sagi

 

preventing any forcible enforcement of a note, which would dissipate assets belonging to the Orly Trust. In
actuality, Dalia colluded with Sagi in late 2008 and early 2009, to have the note forcibly collected by TPR in a Feb.
2009 sham UCC sale (without notice to Orly or other interested buyers). See Genger v. Genger, 2013 N.Y. Misc.
LEXIS 2304, *9 (N. Y. Sup. Ct. May 29, 2013) (describing fraudulent UCC sale and denying defendants’ motions
for summary judgment); see also Dalia Genger Interrogatory Responses Nos. 3, 7, 12, 14 (Leinbach Decl., Ex. 6).
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Trusts, with the remainder (13.99%) going to Arie.° See Divorce Stipulation, pp. 12-14 (Art. II
(9)).’ “Following the foregoing transfers of the TRI Stock, the Wife will have no ownership

interest in TRI.” Id.

The Divorce Stipulation provides that “HE OR SHE [Arie or Dalia]
UNDERSTANDS THAT THIS AGREEMENT WILL BE BINDING ON HIM OR HER IN
ALL CIRCUMSTANCES” (p. 56), and “shall be binding and obligatory upon the heirs, personal
representatives, administrators, executors and assignees of the parties herein” (p. 51 (emphasis

added)) (hereafter, the “Binding Clauses”).

The Divorce Stipulation contains an “Entire Understanding Clause” preventing
incorporation of side agreements or promises not set forth in the Stipulation itself:

ENTIRE UNDERSTANDING

This Agreement contains the entire understanding of the parties
who hereby acknowledge that between them there have been and
are no representations, warranties, covenants or undertakings
(whether written or oral, express or implied) with respect to the
subject matter hereof including, without limitation, all rights or
claims arising at law, in equity or pursuant to the parties’ marital
relationship other than those expressly set forth herein or in the
transaction contemplated hereby or entered into concurrently
herewith.

Divorce Stipulation, p. 53.

In the Divorce Stipulation (Article [X: Mutual Release and Discharge of Claims

 

6 The remaining 47.15% was owned by Glenclova Investment Company and TR Investors, LLC, who were
controlled by Jules Trump, Eddie Trump, and Mark Hirsch (collectively, the “Trump Group”).

” Pursuant to Art. I1(9)(c) of the Divorce Stipulation, the transfer of the TRI Shares was approved by an October 26,
2004 TPR Board Resolution (Leinbach Decl., Exhibit 8), and the TRI Shares transferred by TPR to the Orly Trust,
Sagi Trust, and Arie on October 30, 2004 (see Transfer Agreement (Leinbach Decl., Exhibit 9). Like the Divorce
Stipulation, neither the Transfer Resolution nor the Transfer Agreement reference the Sagi Promise Document or the
November Document in any way.
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and Claims to the Estate) (the “Release Clause”), Dalia broadly released Arie and his heirs:

2. The Wife hereby remises, releases and forever discharges the
Husband, the Husband’s heirs, executors, administrators,
successors and assigns from all actions, causes of action, suits,
debts, dues, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements,
promises, variances, trespasses, damages, judgments, expenses,
executions, claims, and demands whatsoever, in law, admiralty or
equity, known or unknown, which the [Wife]®, the [Wife]’s heirs,
executors, administrators, successors and assigns ever had or now
has against the [Husband], for, upon, or by reason of any matter,
cause or thing whatsoever from the beginning of the world to the
day of the date of this Agreement, including (without limitation)
claims with respect to all “separate property” and all “marital
property” as those terms are defined in Section 236(B) of the
Domestic Relations Law or arising out of the marital relationship,
except for (a) any amounts that may be due pursuant to the audits
referred to in Article XII and (b) any cause of action for Divorce,
Annulment or Separation and any defenses thereto.

Divorce Stipulation, p. 34.

The Sagi Promise Document and the November Document are not identified or
referenced anywhere in the Divorce Stipulation as part of the Divorce Stipulation, nor is either
document attached to it. Sagi nowhere avers in his Complaint that the divorce court was shown
or apprised of the Sagi Promise Document or November Document, or that those documents

comprised any part of the divorce court’s decision to grant a divorce decree.

The October 30, 2004 Sagi Promise Document

The Sagi Promise Document, a copy of which is attached as Exhibit A to the
Complaint, is dated October 30, 2004 — four days after the Divorce Stipulation. It is on Sagi

Genger letterhead, and is signed by Sagi and Dalia only. There is no signature line for Orly.

 

§ In an obvious scrivener’s error, the words “Husband” and “Wife” were mistakenly swapped three times in this
paragraph [X(2) of the Divorce Stipulation. This error has been corrected in this memorandum and the corrected
words marked by [brackets].
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Orly is not cce’d on the Sagi Promise Document. The promise to pay is exclusively Sagi’s:
Dear Mom:

This letter confirms our understanding with respect to certain
payments that J am prepared to make to you in consideration of the
following. My sister Orly and I are benefiting by the receipt of a
total of 794.40 shares of Trans-Resources, Inc. (“TRI”), or
beneficial interests in those shares, by trusts for our benefit. In
reliance on this letter and in consideration of the trust’s receipt of
these shares and other consideration, you are giving up valuable
marital rights, and you desire further assurance that you will have
sufficient funds to support your lifestyle.

If you, in your sole and absolute discretion, from time to time
desire funds to support your lifestyle, you may request in writing
that I make payment_to you as provided in this letter. Promptly
upon receipt of this request, I will pay to you (1) an amount equal
to all dividends, distributions, proceeds or other payments
attributable to 794.40 shares of TRI (adjusted for any splits or
similar action) that have previously been paid to Orly, me or any
trust for the benefit of either of us, less any amounts previously
paid to you pursuant to this letter, or (2) any lesser amount
indicated in your request.

We intend for this letter to be a binding agreement under New
York law. Please confirm that this letter correctly reflects your
understanding by signing below.

Sincerely,
Sagi Genger
Sagi Promise Document (Compl., Ex. A) (emphases added); accord Compl. § 9 (“pursuant to a

co-signed letter dated October 30, 2004 ... Plaintiff agreed to pay Dalia”).

The November Document

The November Document, a copy of which is attached as Exhibit B to the
Complaint, is dated November 10, 2004 — fifteen days after the Divorce Stipulation. It is on Sagi
Genger letterhead and signed by Sagi. Id. It is “AGREED TO AND ACCEPTED THIS _

DAY OF NOVEMBER, 2004” by Orly. It states:
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Dear Orly:

In connection with the attached letter (the ““Promise”) from me to
our mother, Dalia Genger, dated October 30, 2004, you agree to
indemnify, defend, and hold me harmless, for and against one-
half(1/2) of any and all payments, liabilities, damages, claims,
actions, losses, settlements, penalties, judgments or obligations
(each a “Claim”), including my reasonable counsel and other
professional fees, expenses and costs, which arise from my
understanding in the Promise.

I will notify you promptly of any Claims.
Very truly yours,
Sagi Genger

November Document (Compl., Ex. B) (emphases added); accord Compl. ¥ 9 (referring to

 

[Plaintiffs] undertakings in the [Oct. 30, 2004 Promise]’).

The November Document further confirms that the promise to pay in the Sagi
Promise Document is exclusively Sagi’s. There is no mention of any consideration to Orly for
her acceptance of the indemnity obligation set forth in the November Document. In that regard,
by November 10, 2004, the Divorce Stipulation had been signed by Arie and Dalia, and the TRI
Shares transferred to the Orly and Sagi Trusts, as agreed to in the Divorce Stipulation. See

Divorce Stipulation and Transfer Documents (Leinbach Decl., Exs. 7-9).

Dalia’s Demand and the Instant Lawsuit

“On or about January 22, 2014, Dalia demanded $200,000 from [Sagi] under the
October 30, 2004 Promise.” Compl. § 10. “In response to Dalia’s demand, [Sagi] paid Dalia

$200,000.” Id. ¥ 11.

On February 17, 2014, Sagi demanded $100,000 from Orly “under the November

10, 2004 Indemnity.” Compl. § 12. One day later, on February 18, 2014, Sagi commenced a
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lawsuit for breach of contract. 7/22/14 Order at 2 (Leinbach Decl., Ex. 1).

On July 22, 2014, that lawsuit was dismissed for lack of subject matter
jurisdiction. 7/22/14 Order at 13 (Leinbach Decl., Ex. 1). Two days later, Sagi filed a near
identical complaint for breach of contract (Compl., §§] 15-27) and promissory estoppels (id., {

28-32).

While Sagi promised to notify Orly “promptly of any Claims” (November

Document at 1), Sagi nowhere avers in his Complaint that he notified Orly before he paid Dalia.

ARGUMENT

I. THE COMPLAINT SHOULD BE DISMISSED A SECOND TIME UNDER
F.R.C.P. 12(B)) AND 12(H)(3) BECAUSE SAGI STILL FAILS TO MEET HIS
HEAVY BURDEN OF PROVING, BY CLEAR AND CONVINCING EVIDENCE,
THAT HE IS NO LONGER A NEW YORK DOMOCILIARY

It is “hornbook law that the party invoking federal jurisdiction bears the burden of
proving facts to establish that jurisdiction.” Linardos v. Fortuna, 157 F.3d 945, 947-948 (2d Cir.
1998); Wiest _v. Breslaw, 01 Civ. 5663 (LMM), 2002 U.S. Dist. LEXIS 4371, *6 (S.D.N.Y.
March 15, 2002); N.Y. City St. Tree Consortium, Inc. v. Eber-Schmid, 07-CV-0348 (BSJ), 2009
U.S. Dist. LEXIS 12557, *7 (S.D.N.Y. Feb. 18, 2009). In assessing whether Sagi has met his
evidentiary burden, Sagi is not entitled to any favorable inferences from the pleadings;
jurisdiction must be shown affirmatively. Hai Yang Liu v. 88 Harborview Realty, LLC, 11 Civ.
1033 (AT), 2014 U.S. Dist. LEXIS 36320, *6 (S.D.N.Y. Mar. 12, 2014), citing APWU v. Potter,
343 F.3d 619, 623 (2d Cir. 2003). In this regard, “Sagi has the burden to prove by clear and
convincing evidence that he changed his domicile from New York to Connecticut before this

action commenced” on July 24, 2014. 7/22/14 Order at 9.

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The Court already has dismissed the near-identical complaint once, holding that
“Sagi has failed to prove by clear and convincing evidence both that by February 18, 2014
Connecticut had become his ‘true fixed home’ and that he no longer had an ‘intention of
returning’ to New York.” 7/22/14 Order (citing Palazzo ex rel. Delmage v. Corio, 232 F.3d 38,
42 (2d Cir. 2000)). While that dismissal was without prejudice and does not preclude re-filing
the case in state court (7/22/14 Order at 13 n.3), res judicata compels dismissal of the instant

complaint in this Court.

A “finding of lack of subject matter jurisdiction is res judicata as to that particular
issue in subsequent actions between the parties.” George v. Storage Am. & Ebay, Inc., 134 Civ.
9226 (LAK), 2014 U.S. Dist. LEXIS 53764 (S.D.N.Y. Mar. 6, 2014) (quoting Barclay's Ice
Cream Co. v. Local No. 757 of Ice Cream Drivers & Employers Union, No. 79 Civ. 1611, 1979
U.S. Dist. LEXIS 9964 (S.D.N.Y. Sept. 7, 1979)). Thus, all the facts Sagi previously used to try
to prove diversity — e.g., “(1) his leases of properties in Connecticut; (2) his use of a Connecticut
address for his business; (3) his membership in Chabad of Greenwhich; (4) his children’s
attendance at a school in Connecticut; [(5)] his Connecticut Driver’s license and vehicle
registration” (7/22/14 Order at 9-10) — have been legally determined to be insufficient. See
George, 2014 U.S. Dist. LEXIS 53764, at *11, citing Watson v. United States, 349 F. App'x 542,
544-45 (Fed. Cir. 2009) (holding that res judicata barred new action where prior action was
dismissed for lack of subject matter jurisdiction, and plaintiff filed new complaint alleging
jurisdiction under same statute, raised identical claims against same parties as prior action, and

failed to provide additional facts to cure jurisdictional defects).

Here, Sagi includes no additional facts supporting diversity jurisdiction in his

operative Complaint. Similarly, Sagi still has not complied with Rule 6(c) of this Court’s

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Individual Rules of Practice requiring that Sagi “submit to the Court a letter not exceeding two
(2) single-spaced pages (exclusive of letterhead and signature block(s)) explaining the basis of
[Sagi’s] belief that diversity jurisdiction exists.” Under these circumstances, Sagi’s
“presumptive domicile” of New York continues to prevail, and the instant action must again be
dismissed for lack of subject matter jurisdiction. See F.R.C.P. 12(b)(1); F.R.C.P. 12(h)(3); N.Y.
City St. Tree Consortium, Inc. v. Eber-Schmid, 07-CV-0348 (BSJ), 2009 U.S. Dist. LEXIS
12557, *9-10 (S.D.N.Y. Feb. 18, 2009) (dismissing action for lack of diversity jurisdiction
because plaintiff TNY had failed to show by clear and convincing evidence that defendants had
effected a change of domicile from New York to New Jersey); Halbritter_v. Stonehedge
Acquisition Rome Il, LLC, No. 07 Civ. 43848 (WHP), 2008 U.S. Dist. LEXIS 26042, *9
(S.D.N.Y. Apr. 2, 2008) (granting motion to dismiss; “[b]ecause there is conflicting evidence
supporting domicile in New York and Florida, [plaintiff] Halbritter has not provided clear and
convincing evidence that she changed her domicile from New York to Florida. Thus, her

presumptive domicile is New York.”).

Il. IN THE ALTERNATIVE, THE COMPLAINT SHOULD BE DISMISSED WITH
PREJUDICE UNDER F.R.C.P. 12(B)(6) FOR THE MANY INDEPENDENT
REASONS SET FORTH BELOW

In deciding a 12(b)(6) motion to dismiss, a complaint “include[s] any written
instrument attached to it as an exhibit or any statements or documents incorporated in it by
reference” or any document “integral to the complaint.” International Audiotext Network, Inc. v.

American Tel. & Tel. Co., 62 F.3d 69, 72 (2d Cir. 1995); Oppenheimer & Co. v. Trans Energy

 

Inc., 946 F.Supp.2d 343, 348 (S.D.N.Y. 2013) ‘where, as here, certain contracts are integral to
the complaint, a court may consider those documents when assessing the merits of the motion to

dismiss”) (citing Interpharm, Inc. v. Wells Fargo Bank, N.A., 655 F.3d 136, 141 (2d Cir. 2011)).

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“If these documents contradict the allegations of the ... complaint, the documents
control and this Court need not accept as true the allegations in” the complaint. Rapoport v. Asia
Elecs. Holding Co., 88 F.Supp.2d 179, 184 (S.D.N.Y. 2000); Echostar DBS Corp. v. Gemstar-

TV Guide Int'l, Inc., 05 Civ. 8510, 2007 U.S. Dist. LEXIS 11346, *11 (S.D.N.Y. Feb. 8, 2007)

 

(same); Oppenheimer, 946 F.Supp.2d at 351 (dismissing breach of contract claim contradicted
by contract); Webb v. Kenney, 234 F.Supp.2d 197, 201-02 (E.D.N.Y. 2002) (dismissing due
process claim contradicted by agreement); Doherty v. American Home Prods. Corp., No. 97 Civ.
1211, 1999 U.S. Dist. LEXIS 16101, *15-16 (D. Conn. Oct. 15, 1999) (refusing to vacate prior
dismissal of claims where “plaintiffs’ claims are directly contradicted by the very documents --
the stock option Agreements and Plans -- upon which they purport to rely.”); accord
International Audiotext, 62 F.3d at 72 (a court is “not constrained to accept the allegations of the

complaint in respect of the construction of the Agreement”).

Here, Sagi’s Promise Document, the November Document, and the Divorce
Stipulation put the lie to many of Sagi’s pled allegations and demonstrate Sagi “can prove no set
of facts in support of his claim which would entitle him to relief.” Anderson v. County of
Nassau, 297 F.Supp.2d 540, 544 (E.D.N.Y. 2004); Haggerty v. United Mining Corp., 84 Civ.
7671, 1992 U.S. Dist. LEXIS 13018, *12 (S.D.N.Y. Aug. 31, 1992). Thus, Orly’s motion to

dismiss under F.R.C.P. 12(b)(6) should be granted.

A. The Complaint Should Be Dismissed With Prejudice Because The November
Document Lacks Consideration

Sagi’s breach of contract action fails because neither the November Document
nor the Sagi Promise Document are enforceable contracts. “All contracts must be supported by

consideration.” Beitner v. Becker, 34 A.D.3d 406, 407 (2d Dept. 2006). Here, there is no valid

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consideration for either of the two documents upon which Sagi relies.

The November Document identifies no consideration for Orly’s purported
agreement to indemnify and defend. See November Document (Compl., Ex. B). Sagi attempts
to paper over this fatal flaw by contending in his complaint that Orly received two kinds of
consideration: (i) Orly’s “receipt of those [TRI] shares; and (ii) unnamed “other valuable
consideration.” Compl. 8.” Sagi’s attempt to create consideration where no consideration

exists fails.

First, the November Document is between Sagi and Orly. Sagi had neither the
power nor ability to provide to Orly any of the purported consideration which he contends

supports the November Document.

Second, by November 10, 2004, the Divorce Stipulation already had been signed
“as of October 26, 2004,” and the allotted amount of TRI Shares transferred to the Orly Trust. In
this regard, the Divorce Stipulation fully set out the transfer of the TRI Shares to the Orly and
Sagi Trusts, including the fact that “following the foregoing transfers of the TRI Stock, [Dalia]
will have no ownership interest in TRI.” Divorce Stipulation, Art. II(9). Moreover, in entering

into the Divorce Stipulation, Dalia expressly agreed that “SHE UNDERSTANDS THAT THIS

 

9 Sagi’s original complaint used the phrase: “other valuable consideration, most particularly their strong desire to
bring an end to their parent’s bitter divorce case.” This description of the “other consideration” is now removed, in
likely recognition of the fact that (i) love and affection are not consideration as a matter of New York law, and (ii)
the divorce case ended with the August 26, 2004 Divorce Stipulation. See discussion, supra. Making his Complaint
deliberately opaque and obscure, however, does not save Sagi’s complaint. Rather, this deliberate lack of specificity
further supports dismissal of Sagi’s Complaint. See Consolidated Energy Design Inc. v. The Princeton Club of New
York, 13 Civ. 8747 (KBF), 2014 U.S. Dist. LEXIS 38560, *9 (S.D.N.Y. March 24, 2014) (“’Conclusory allegations
or legal conclusions masquerading as factual conclusions,’ as here, do not ‘suffice to prevent a motion to dismiss.”)
(quoting Smith v. Local 819 L.B.T. Pension Plan, 291 F.3d 236, 240 (2d Cir. 2002)); Ashcroft v. Iqbal, 556 U.S.
662, 678 (in judging sufficiency of complaint, a court does not credit “mere conclusory statements” or “[t]hreadbare
recitals of the elements of a cause of action”).

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AGREEMENT WILL BE BINDING ON ... HER IN ALL CIRCUMSTANCES.” Id. at p. 56.
Given all this, and the “Entire Agreement Clause” and the “Release Clause” in the Divorce
Stipulation, transfer of the TRI Shares to the Orly Trust, which had already occurred and was
already binding on Dalia (and Arie) “IN ALL CIRCUMSTANCES,” could not be consideration

for Orly’s purported acceptance of an indemnification obligation on November 10, 2004.

Third, any purported “strong desire to bring an end to their parents’ very bitter
divorce case” or other familial desires or motivations are not valid consideration. The Divorce
Stipulation — the document that actually “resolve[d] and settle[d] all issues in that [divorce]
action” (Divorce Stipulation at p. 1) — already had been signed by Arie and Dalia, and was
binding upon them. Id. at p. 56. It was this Divorce Stipulation that (1) constituted the “Entire
Agreement” ending the divorce action, (ii) received the Court’s approval, and (iii) led to the end

of the parents’ divorce case.

Fourth, Sagi and Orly’s supposed desire to see the divorce case end, like their
purported desire to support Dalia in her lifestyle, are simply manifestations of the love children
have for their parents. Love and affection, however, is not consideration as a matter of New
York law. “Services that are usually rendered by family members...out of love and affection, or
without expectation of compensation, are presumed to have been rendered gratuitously and do
not constitute consideration...unless the presumption is overcome by convincing proof... to pay
for specified services that were performed in exchange for the promise.” In re Estate of Concetta
Ciadiello, 2007 N.Y. Misc. LEXIS 2326, *6 (N.Y. Sur. Ct. 2007); McRay v. Citrin, 270 A.D.2d
191, 191 (ist Dept. 2000) (where “[t]he sole consideration given to support defendant’s promise
to pay plaintiff a yearly sum of money [was] plaintiff's promise of ‘love and affection’” this “did

not suffice as a predicate for enforcement of the executory agreement.”); Rose v Elias, 177

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A.D.2d 415, 416 (ist Dept. 1991) (affirming trial court’s ruling that love and affection are
insufficient consideration); In re Estate of Camac, 2 Misc.3d 894, 898 (N.Y. Sur. Ct. 2004)
(“‘[lJove and affection’ (especially between a child and a parent) do not constitute consideration”
(citation omitted)); see also Pershall v. Elliott, 249 N.Y. 183, 188 (1928) (‘[a] previous moral
obligation is insufficient as a consideration to support an action to enforce an executory

contract”) (citation omitted).

Fifth, it is well-settled that, the doctrines of judicial estoppel and estoppel against

O66,

inconsistent positions, ““‘precludes a party from framing his pleadings in a manner inconsistent
with a position taken in a prior judicial proceeding.” Kimco of New York, Inc. v. Devon, 163
A.D.2d 573, 574 (2d Dept. 1990) (barring defendant under the doctrine of inconsistent positions
from claiming that an option contract was invalid after petitioning the Surrogate’s Court to allow
defendant to buy property by exercising the option in a prior proceeding). See also General
Electric Co. v. Inter-America Marketing Systems, Inc., 220 A.D.2d 307 (1st Dept. 1995) (“The
IAS Court properly invoked the doctrine of judicial estoppel to preclude those
counterclaims...since defendant successfully advanced the diametrically opposite position at the
trial of plaintiff's claims.”); Vasquez v. Herald Association Inc., 186 A.D.2d 467, 469 (1st Dept.
1992) (“the IAS court correctly estopped [the party from taking a position that] was diametrically
opposite to that taken in earlier litigation.”); Matter of New York State Urban Development
Corp., 63 A.D.3d 1719 (4th Dept. 2009) (under the doctrine of estoppel against inconsistent
positions the attorney representing respondents “will not now be heard to argue an inconsistent
position”); Secured Equities Investments, Inc. v. McFarland, 300 A.D.2d 1137, 1139 (4th Dept.

2002) (same).

Sagi’s claim that Orly has received “shares of TRI’ in connection with the

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divorce directly contradicts Sagi’s and Dalia’s successful claims in other courts (Delaware
Chancery Court, New York Supreme Court, and this Court) that the TRI Shares are not, and have
never been, an actual asset of the Orly Trust. Thus:

-- Sagi and Dalia entered into an August 30, 2013 Stipulation and Order of
Dismissal (the “Delaware Stipulation”), agreeing that the October 2004
TRI transfers were “void and the stock reverted to TPR” and that TPR
properly sold the TRI Stock to the Trump Group in August 2008 as those
October 2004 transfers were “void.” See Delaware Stipulation at §¥ 1, 2
(Leinbach Decl., Exhibit 10); August 2008 Side Letter Agreement
(Leinbach Decl., Exhibit 11).

-- On May 15, 2014, at TPR’s urging, this Court (Keenan, J.) ordered that
“TEscrow Agent] is directed to release the Proceeds [of TPR’s sale of the
Orly Trust TRI Shares], together with any interest accrued thereon, to
TPR.” TPR Investment Associates, Inc. v. Pedowitz & Meister LLP, Civ.
Action No. 14-8243 (JFK), 2014 U.S. Dist. LEXIS 67116, *23 (S.D.N.Y.
May 15, 2014).'° Notably, Dalia (as the supposed Trustee of the Orly
Trust) urged this Court (Keenan, J.) to direct the proceeds from the sale of
the Orly Trust TRI shares to TPR. See Hearing Tr. at 13 ( Leinbach Decl.,
Exhibit 12) (Dalia Counsel: “We [Dalia] don’t object if this Court would
direct that the escrow[ed millions] be given to TPR.”).

-- On July 24, 2014, TPR and Sagi successfully convinced the Appellate
Division First Department to dismiss various claims brought against them
by the Orly Trust, because “any damage that the Orly Trust incurred was
the result of Arie’s invalid transfer of the TRI stock.” Genger v. Genger,
Index No. 651089/10 (1st Dept. July 24, 2014) (Leinbach Decl., Exhibit
13).

 

10 Notably, in ordering the Proceeds released, Judge Keenan emphasized his decision and order was in no way
determining any of Orly’s state law claims:

It must emphasized, however, that neither my 2012 Omnibus Opinion nor today’s decision
announce any kind of equitable or normative conclusion as to who among the Genger siblings
ultimately deserves recompense. That is a different question, one that was left to the state courts
to sort out. See Glenclova Inv. Co. v. Trans-Resources, Inc., No. 08 Civ. 7140, 2013 WL
6003512, at *3 (S.D.N.Y. Nov. 12, 2013). Thus, nothing in this Opinion should be construed as
resolving any question other than whether TPR is the next (but not necessarily last) beneficiary of
the sale of the Orly Trust Shares. (Id., 2014 U.S. Dist. LEXIS 67116, at *17.)

q Orly has filed a motion to reargue this decision, and sought leave to appeal to the Court of Appeals.

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Having successfully urged the various courts to treat the October 2004 transfer of
TRI stock to the Orly Trust as void ab initio, Sagi (and Dalia) are now prevented under the
doctrines of judicial estoppel and estoppel against inconsistent positions from properly

contending those transfers constitute consideration here.

For each of these reasons, the November Document is unenforceable by Sagi, and

the Court should grant Orly’s motion to dismiss.

B. The Complaint Should Be Dismissed With Prejudice Because Sagi Failed To
Notify Orly Of Dalia’s Claim, And Give Orly A Chance To Defend Prior To
Payment, And There Are Valid Defenses To Dalia’s Claim To Payment

Under New York law, an indemnitor cannot seek reimbursement from an
indemnitee unless the indemnitor first notifies the indemnity of a potentially covered claim and
gives it an opportunity to defend. See Chase Manhattan Bank v. 264 Water St. Assocs., 222
A.D.2d 229, 231 (1st Dept. 1995) (one who “fails to notify an indemnitor about an impending
settlement proceeds at his own risk”); Perkins & Will Partnership v. Syska & Hennessy &
Garfinkel, Marenberg & Associates, 50 A.D.2d 226, 231 (1st Dept. 1975), aff'd _on other
grounds, 41 N.Y.2d 1045 (1977). “[I]t is well established under New York law that, where an
indemnitor does not receive notice of an action settled by the indemnitee, ‘in order to recover
reimbursement [for the settlement], [the indemnitee] must establish that [it] would have been
liable and that there was no good defense to the liability.”” Deutsche Bank Trust Co. of Ams. v.

Tri-Links Inv. Trust, 74 A.D.3d 32, 39 (1st Dept. 2010) (citation omitted).!

 

2 Notably, even if an indemnity agreement does not contain a notice provision, “the implied covenant of good faith
warrants reading into the contractual procedure a requirement that notice be given within a reasonable time so as to
afford a meaningful opportunity of participation.” Perkins & Will Partnership v. Syska & Hennessy & Garfinkel,
Marenberg & Associates, 50 A.D.2d 226, 231 (1st Dept. 1975).

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Here, the November Document specifically states that “I [Sagi] will notify you
[Orly] promptly of any Claims.” November Document at 1. Moreover, it gives Orly an express
right to defend. Id. Despite this, Sagi admits in his Complaint that he only demanded that
$100,000 from Orly on February 17, 2014, which was after Sagi paid Dalia $200,000 in response
to Dalia’s demand. See Complaint ff 11-13. Sagi’s failure to provide Orly with timely notice
prevented Orly from raising at least two valid defenses to the Promise Document’s
enforceability, resulting in waiver of Sagi’s indemnification claim as a matter of law. See
Ballard v. Parkstone Energy, LLC, 664 F.Supp.2d 325, 330-31 (S.D.N.Y. 2009) (holding that

late notice resulted in waiver of buyer’s indemnification claims).

First, Sagi was not required to pay Dalia under the Sagi Promise Document
because that document fails for lack of consideration for the same reasons as the November
Document. See Argument, Point II. In this regard, nothing in the Divorce Stipulation premises
Dalia’s execution of it on the Sagi Promise Document. To the contrary, Dalia bound herself and
her heirs to the Divorce Stipulation “IN ALL CIRCUMSTANCES.” See Binding Clauses to
Divorce Stipulation, pp. 51, 56. The Divorce Stipulation also contains an “Entire
Understanding” provision (p. 53) that prevents Dalia or Sagi from properly claiming the Sagi

Promise Document was a material part of, or precondition to, the Divorce Stipulation.

Second, the Sagi Promise Document cannot be enforced by Dalia because she
released all claims against Sagi in the Divorce Stipulation. The Release Clause includes a
release of Arie heirs, which includes Sagi. See Release Clause (Divorce Stipulation at p. 34).
Nothing in the Divorce Stipulation carves the Sagi Promise Document from that Release Clause.

See id.

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For each of these two reasons, the Sagi Promise Document is not an enforceable
contract. As a result, under well-settled law, Sagi is barred from seeking indemnification,
because he failed to provide Orly with notice and an opportunity to defend before paying Dalia.

See, e.g., 264 Water St. Assocs., supra; Tri-Links Inv. Trust, supra.

C. The Complaint Should Be Dismissed With Prejudice Because It Does Not
State, And Could Never Properly State, A Claim For Promissory Estoppel

Recognizing his breach of contract claim cannot survive dismissal, Sagi has added
a promissory estoppel claim. Compl. ff] 28-32. This claim, however, is also irreparably flawed

as a matter of law and should be dismissed.

“To make out a claim for promissory estoppels, a plaintiff must prove (1) a clear
and unambiguous promise, (2) reasonable and forseeable reliance by the promisee; and (3)
unconscionable injury to the relying party as a result of the reliance.” Princeton Club of New
York, 2014 U.S. Dist. LEXIS 38560, at *9 (quoting Readco. Inc. v. Marine Midland Bank, 81
F.3d 295, 301 (2d Cir. 1996)); Lampros v. Banco Do Brasil, S.A., 2013 U.S. App. LEXIS
22316, *3 (2d Cir. Nov. 4, 2013) (promissory estoppel claim fails in the absence of reasonable
reliance). Here, Sagi cannot establish that he reasonably and foreseeably relied upon Orly’s

alleged promise, or that he suffered an unconscionable injury, in paying Dalia.

Neither Sagi nor Dalia can reasonably rely on a 2004 promise based on the
purported transfer of TRI shares to the Orly Trust, when Sagi and Dalia have been claiming for
years (2008-2014) that those shares really belong to Sagi’s corporate alter ego TPR, not the Orly
Trust. Sagi has claimed for years (both individually and through TPR) that TPR’s transfer of the

TRI stock to the Orly Trust is a nullity. As just one example:

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In her May 31 Order, Justice Jaffe writes that: “TPR's assertion of
ownership interest in the TRI shares and the escrowed $10.3
million cannot be reconciled with its acknowledgment that ‘Orly is
the main beneficiary.’” (R. 25). There appears to be some
confusion. What TPR acknowledged is that Orly is the main
beneficiary of the Orly Trust, not that she is the main beneficiary
of the $10.3 million of sales proceeds for the TRI Shares at issue.
Those sales proceed belong to the owner of the TRI Shares, which
the Delaware Chancery Court has ruled to be TPR.

Excerpt of TPR/Sagi Appellate Br. at 14, n.7 (emphases added) (Leinbach Decl., Exhibit 14).

Similarly, there can be no reasonable reliance on the November Document when
Sagi and Dalia’s efforts to take the Orly Trust TRI Shares from Orly and her Orly Trust are just
one of Sagi and Dalia’s many schemes to pauperize Orly. Since 2008, Dalia and Sagi, working
together and separately, have, among other things, (i) seized the Orly Trust’s TRI assets; (ii)
seized the Orly Trust’s TPR assets; (iii) violated two protective injunctions in trying to send at
least $4.4 million of Orly Trust assets to a shadowy St. Kitts entity; (iv) fraudulently claimed
ownership of the apartment Orly lived in and another apartment held in trust for Orly; and (v)
defrauded Orly of her half of valuable Canadian real estate property. See, e.g., Sampling of
Frauds (Leinbach Decl., Ex. 3). Given this history, it is untenable that Sagi could claim any
reliance on the November Document when he paid Dalia. Indeed, this lawsuit is nothing more
than Sagi and Dalia’s latest attack upon Orly — which they hope to culminate in a future demand

that Orly pay Sagi $6.5 million in purported indemnification.

Clinching the matter, there can be no reasonable reliance where, as here, Sagi was
already well-informed before he paid Dalia that Orly considered the November Document, and
any indemnity promise by her, to be invalid and unenforceable. (See Harris Decl. 5) (Leinbach

Decl., Exhibit 15).

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Finally, any injury to Sagi is not unconscionable as a matter of law. See Fishoff
v. Coty, Inc., 676 F.Supp.2d 209, 220 (S.D.N.Y. 2009) (“Unconscionable injury, however,
requires something beyond ‘the expectation damages which flow naturally from the non-
performance of the alleged agreement.’”) (quoting United Resource Recovery Corp. v. Ramko

Venture Management, Inc., 584 F.Supp.2d 645, 658 (S.D.N.Y. 2008); Princeton Club of New

 

York, 2014 U.S. Dist. Lexis 38560, at *9.

For each of these reasons, Sagi’s newly-pled promissory estoppel claim is

meritless, and cannot save the instant complaint from dismissal.

CONCLUSION

For the foregoing reasons, the Court should (i) dismiss the complaint again for
lack of subject matter jurisdiction; or (ii) in the alternative, dismiss the case with prejudice for
failure to state a claim; and (iii) grant Orly such other and further relief as the Court deems just

and proper.

Dated: New York, New York
August 27, 2014 ZEICHNER ELLMAN & KRAUSE LLP

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YY oa MA Griver oS
/“— BryafyD. Leinbach
Lo 1211 Avenue of the Americas
: New York, New York 10036

(212) 223-0400
Attorneys for defendant Orly Genger

  
  

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